       Case: 21-2348    Document: 123    Page: 1     Filed: 08/28/2023




                             No. 2021-2348

UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT



LKQ CORPORATION & KEYSTONE AUTOMOTIVE INDUSTRIES, INC.,

                                         Appellants,
                                    v.

              GM GLOBAL TECHNOLOGY OPERATIONS LLC,

                                         Appellee.



         Appeal from the United States Patent and Trademark Office
              Patent Trial and Appeal Board in IPR2020-00534
   (JJ Scott A. Daniels, Grace K. Obermann, and Christopher G. Paulraj)


 EN BANC BRIEF OF AUTOMOTIVE BODY PARTS ASSOCIATION
      AS AMICUS CURIAE IN SUPPORT OF APPELLANTS



                                 Robert G. Oake, Jr.
                                 Oake Law Office, PLLC
                                 700 S. Central Expressway, Suite 400
                                 Allen, Texas 75013
                                 Telephone: 214.207.9066
                                 Facsimile: 469.519.5454
                                 rgo@oake.com

                                 Attorney for Amicus Curiae
                                 Automotive Body Parts Association

                                 August 28, 2023
              Case: 21-2348         Document: 123    Page: 2   Filed: 08/28/2023



FORM 9. Certificate of Interest                                                     Form 9 (p. 1)
                                                                                     March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2021-2348
   Short Case Caption LKQ Corporation, et al v. GM Global Technology Operations LLC
   Filing Party/Entity Amicus Curiae Automotive Body Parts Association



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              Case: 21-2348           Document: 123      Page: 3      Filed: 08/28/2023



FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in            3. Parent Corporations
         Entities.                            Interest.                  and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
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 all entities represented by          all real parties in interest    all parent corporations for
 undersigned counsel in               for the entities. Do not list   the entities and all
 this case.                           the real parties if they are    publicly held companies
                                      the same as the entities.       that own 10% or more
                                                                      stock in the entities.
                                      ✔ None/Not Applicable
                                      ☐                               ✔ None/Not Applicable
                                                                      ☐
Automotive Body Parts Association




                                  ☐      Additional pages attached
               Case: 21-2348      Document: 123   Page: 4       Filed: 08/28/2023



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                                                                                     March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
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 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
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Robert G. Oake, Jr.
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 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
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 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ☐
 ✔        None/Not Applicable               ☐     Additional pages attached
            Case: 21-2348     Document: 123   Page: 5   Filed: 08/28/2023




                              TABLE OF CONTENTS
                                                                            PAGE

I.     INTEREST OF THE AMICUS CURIAE               ………………………… 1

II.    SUMMARY OF ARGUMENT ………………………………………. 2

III.   QUESTIONS PRESENTED             ……………………………………… 4

IV.    ARGUMENT             …………………………………………………… 6

       A.     KSR Abrogates the Mandatory Rosen-Durling Test ………….. 5

       B.     KSR Applies to Design Patents and this Court should Eliminate
              the rigid Rosen-Durling Test ……………………………… 6

              1.   Introduction ……..……………………………………… 6

              2.   The Rosen-Durling Test is Overly Rigid and Improper      7

              3.   Historical Review of the Obviousness Test
                   Development in Design Patent Cases ………………… 8

                   (a)      Historically, Obviousness did not Require a
                            Primary Reference ……………………………… 9

                   (b)      The Origins of the Primary Reference
                            Requirement …………………………………… 11

                   (c)      The Importance of the “As a Whole” Principle … 12

                   (d)      Passage of the 1952 Patent Act and the
                            Graham v. John Deere Co. Decision …………… 12

                   (e)      In re Glavas and the Rule for Combining Primary
                            and Secondary References ……………………… 13

                   (f)      Standard for Evaluating Obviousness
                            Changed to Designer of Ordinary Skill ………… 15



                                          i
        Case: 21-2348     Document: 123   Page: 6   Filed: 08/28/2023




               (g)      In re Rosen and the Requirement that a Primary
                        Reference be “Basically the Same” ……………. 15

               (h)      In re Harvey and the Focus on Overall Visual
                        Appearances ……………………………………... 16

          4.   Historical Review Highlights the Error in Always
               Requiring a Primary Reference ………………………... 17

   C.     The Test for Obviousness Should Apply the Graham/KSR
          Factors and Focus on Whether a Reason Exists that a Designer
          of Ordinary Skill would Combine Prior Art References to
          Achieve the Claimed Design …………………………………. 18

   D.     No Precedent from this Court has Clarified the Rosen-Durling
          Test …………………………………………………………….. 21

   E.     Correcting and Improving Design Patent Obviousness
          Principles Results in Less Uncertainty ………………………… 21

   F.     Differences Between Design Patents and Utility Patents Do Not
          Justify Fundamentally Different Frameworks for Determining
          Obviousness ………………………………………………….. 21

CONCLUSION     …………………………………………………………... 22




                                     ii
           Case: 21-2348     Document: 123    Page: 7   Filed: 08/28/2023




                            TABLE OF AUTHORITIES

CASES                                                                 PAGE

Avia Grp. Int'l, Inc. v. L.A. Gear Cal., Inc.,
      853 F.2d 1557 (Fed. Cir. 1988) ……………………………… 19

Campbell Soup Co. v. Gamon Plus, Inc.,
    10 F.4th 1268 (Fed. Cir. 2021) ……………………………… 7, 19

Cavu Clothes, Inc. v. Squires, Inc.,
     184 F.2d 30 (6th Cir. 1950)       ……………………………… 8

Columbus Plastic Products, Inc. v. Rona Plastic Corp.,
     111 F. Supp. 623 (D.N.Y. 1953) ……………………………… 13

Dobson v. Dornan,
     118 U.S. 10 (1886) ……………………………………………                             12

Durling v. Spectrum Furniture Co., Inc.,
      101 F.3d 100 (Fed. Cir. 1996) ……………………………… 4, 17, 18, 22

Egyptian Goddess v. Swisa,
      543 F.3d 665 (Fed. Cir. 2008)    ……………………………… 21

Ethicon Endo-Surgery, Inc. v. Covidien, Inc.,
      796 F.3d 1312 (Fed. Cir. 2015) ……………………………… 19

Graham v. John Deere Co. of Kansas City,
     383 U.S. 1 (1966) ……………………………………………                              7, 12, 13, 19,
                                                                      21, 22
In re Borden,
       90 F.3d 1570 (Fed. Cir. 1996)   ……………………………… 5,

In re Garbo,
       287 F.2d 192 (C.C.P.A. 1961) ……………………………… 20

In re Glavas,
       230 F.2d 447 (C.C.P.A. 1956) ……………………………… 13, 14, 15,
                                                 16

                                        iii
          Case: 21-2348     Document: 123     Page: 8   Filed: 08/28/2023




                                                                      PAGE
In re Harvey,
       12 F.3d 1061 (Fed. Cir. 1993)   ……………………………… 16, 17

In re Hopkins,
       17 C.C.P.A. 621, 34 F.2d 1016 (C.C.P.A. 1929) ……………            18

In re Jennings,
       182 F.2d 207 (C.C.P.A. 1950) ……………………………… 11, 12, 16

In re Johnson,
       175 F.2d 791 (C.C.P.A. 1949) ……………………………… 8

In re Nalbandian,
       661 F.2d 1214 (C.C.P.A. 1981) ……………………………… 15

In re Rosen,
       673 F.2d 388 (C.C.P.A. 1982) ……………………………… 1, 2, 3, 15,
                                                           18, 22
In re Stevens,
       81 U.S.P.Q 362, 173 F.2d 1015 (C.C.P.A. 1949) …………. 18

Knapp v. Will & Baumer,
     273 F. 380 (2nd Cir. 1921)        ……………………………… 9, 17

KSR International Co. v. Teleflex Inc.,
     550 U.S. 398 (2007)        …………………………………….. 1, 3, 4, 5, 6,
                                                 7, 8, 21, 22
MRC Innovations, Inc. v. Hunter Mfg., LLP,
     747 F.3d 1326 (Fed. Cir. 2014) ……………………………… 17

Olsen v. Baby World Co. Inc. et al.,
      126 F. Supp. 660 (D.C.N.Y. 1954)        ……………………….              18

Sidewinder Marine, Inc. v. Starbuck Kustom Boats & Prods.,
      597 F.2d 201 (10th Cir. 1979) ……………………………… 7, 19

Smith v. Whitman Saddle,
      148 U.S. 674 (1893)       …………………………………….. 3, 6, 9, 17



                                         iv
          Case: 21-2348    Document: 123     Page: 9   Filed: 08/28/2023




                                                                     PAGE
Western Auto Supply Co. v. Am.-National Co.,
      114 F.2d 711 (6th Cir. 1940)  ……………………………… 11, 17

STATUTES AND RULES

35 U.S.C. § 103   …………………………………………………..                              6, 13

35 U.S.C. § 171   …………………………………………………..                              12

35 U.S.C. § 171 (a)       ……………………………………………                          6

35 U.S.C. § 171 (b)       ……………………………………………                          6

Federal Rule of Appellate Procedure 29(a)(4)(E)   ………………… 2

Federal Rule of Appellate Procedure 29       ……………………….. 2

Federal Circuit Rule 29 ……………………………………………. 2

MPEP § 1504.03 II.        ……………………………………………. 20

OTHER AUTHORITIES

Sarah Burstein, Visual Invention,
      16 Lewis & Clark L. Rev. 169 (2012) ……………………….                 14

Janice M. Mueller & Daniel Harris Brean, Overcoming the
“Impossible Issue” of Nonobviousness in Design Patents,
      99 KY. L.J. 419 (2011) ……………………………………                          14




                                         v
          Case: 21-2348     Document: 123     Page: 10   Filed: 08/28/2023




I.    INTEREST OF THE AMICUS CURIAE

      The Automotive Body Parts Association (ABPA) is a coalition dedicated to

serving the collision repair industry with quality replacement parts. There are more

than 160 Members of the ABPA, occupying more than 400 separate collision parts

distribution, bumper sales, recycling facilities, and manufacturing plants.

Collectively, ABPA Members are responsible for distributing more than 90% of

independently produced aftermarket collision replacement parts sold to the collision

repair trade.

      In ABPA’s view, the “basically the same” primary reference requirement from

In re Rosen, 673 F.2d 388, 391 (C.C.P.A. 1982) is an overly rigid rule that is

inconsistent with long-standing principles of design patent invention, obviousness,

and the Supreme Court opinion in KSR Int'l Co. v. Teleflex Inc., 550 U.S. 398 (2007).

A primary reference, while sometimes helpful in determining obviousness in the

design patent context, should not be required when analyzing the obviousness of

claimed designs because its strict application fails to capture some designs that are

obvious when proper legal principles are applied.

      When patents are allowed on automotive part designs that should be

considered obvious, it harms consumers and poses a significant risk to the

automotive repair parts supply chain in the United States. Consumers rely on

automotive parts to repair their vehicles and bring them to pre-accident condition.



                                         1
          Case: 21-2348     Document: 123     Page: 11    Filed: 08/28/2023




Allowing patents on obvious designs leads to higher motor vehicle repair costs due

to lack of competition to the Original Equipment Manufacturers. Additionally,

consumers face higher automotive insurance costs due to more expensive parts

pricing as well as a significant time delay in getting their vehicles repaired due to

fewer options in the supply chain.

      Pursuant to F.R.A.P. 29(a)(4)(E), counsel for amicus curiae states that no

counsel for any party authored this brief in whole or in part, and no party or counsel

for a party made any monetary contribution intended to fund the preparation or

submission of this brief. No person other than amici curiae, their members, or their

counsel made any monetary contribution to the brief’s preparation or submission.

This brief is submitted under Federal Rule of Appellate Procedure 29 and Federal

Circuit Rule 29. Consent of the parties is not required. Dkt. 86, ¶ 6.

II.   SUMMARY OF ARGUMENT

      The rigid requirement of a primary reference that is “basically the same” as

the claimed design arose in Rosen, supra, a case where the claimed design was a

table design and the primary reference was a desk design. The court apparently

believed such a primary reference was required to prevent combinations of design

elements from prior art references based only on hindsight reasoning.

      The error occurred when the courts began mandating a primary reference

requirement in all design patent cases, even when a reason to combine prior art



                                          2
          Case: 21-2348       Document: 123   Page: 12   Filed: 08/28/2023




references existed other than through a primary reference. The Rosen mandatory

reference requirement was contrary to earlier case law such as Smith v. Whitman

Saddle, 148 U.S. 674 (1893), where even though a primary reference arguably did

not exist, a claimed design could be considered obvious based on other reasons to

combine such as industry custom, common practice, and knowledge possessed by a

designer of ordinary skill.

      KSR confirms that a rigid approach to obviousness exemplified by the Rosen

primary reference requirement is improper. The obviousness test must be flexible

and expansive and consider not only the appearance of prior art references, but also

the teachings of the prior art and general knowledge of an ordinary designer. The

current strict and exclusive Rosen-Durling approach is inconsistent with KSR,

inconsistent with other Supreme Court precedent, and inconsistent with other well-

reasoned case authority.

      The primary reference requirement is not needed to prevent hindsight

reasoning when analyzing whether prior art references should be combined. Other

well-established principles, such as the requirement to consider the claimed design

and prior art references as a whole and the importance of identifying “a reason that

would have prompted a person of ordinary skill in the relevant field to combine the

elements in the way the claimed new invention does,” KSR, supra, at 418-19, are

adequate protections against impermissible hindsight reasoning.



                                          3
            Case: 21-2348    Document: 123     Page: 13    Filed: 08/28/2023




       Under the rationale of KSR, reasons to combine design elements can include

factors such as industry custom and common practice, design trends, market

pressures, ideas adapted or derived by analogy from prior usage, manufacturing

efficiencies, design expediencies known to those of ordinary skill in the art, and the

appearance of the prior art references.

III.   QUESTIONS PRESENTED

       A.     Does KSR International Co. v. Teleflex Inc., 550 U.S. 398 (2007),

overrule or abrogate In re Rosen, 673 F.2d 388 (CCPA 1982), and Durling v.

Spectrum Furniture Co., Inc., 101 F.3d 100 (Fed. Cir. 1996)?

       B.     Assuming that KSR neither overrules nor abrogates Rosen and Durling,

does KSR nonetheless apply to design patents and suggest the court should eliminate

or modify the Rosen-Durling test? In particular, please address whether KSR’s

statements faulting “a rigid rule that limits the obviousness inquiry,” 550 U.S. at 419,

and adopting “an expansive and flexible approach,” id. at 415, should cause us to

eliminate or modify: (a) Durling’s requirement that “[b]efore one can begin to

combine prior art designs … one must find a single reference, ‘a something in

existence, the design characteristics of which are basically the same as the claimed

design,’” 101 F.3d at 103 (quoting Rosen, 673 F.2d at 391); and/or (b) Durling’s

requirement that secondary references “may only be used to modify the primary

reference if they are ‘so related to the primary reference that the appearance of



                                           4
           Case: 21-2348     Document: 123    Page: 14   Filed: 08/28/2023




certain ornamental features in one would suggest the application of those features to

the other,’” id. at 103 (quoting In re Borden, 90 F.3d 1570, 1575 (Fed. Cir. 1996))

(internal alterations omitted).

      C.     If the court were to eliminate or modify the Rosen-Durling test, what

should the test be for evaluating design patent obviousness challenges?

      D.     Has any precedent from this court already taken steps to clarify the

Rosen-Durling test? If so, please identify whether those cases resolve any relevant

issues.

      E.     Given the length of time in which the Rosen-Durling test has been

applied, would eliminating or modifying the design patent obviousness test cause

uncertainty in an otherwise settled area of law?

      F.     To the extent not addressed in the responses to the questions above,

what differences, if any, between design patents and utility patents are relevant to

the obviousness inquiry, and what role should these differences play in the test for

obviousness of design patents?

IV.   ARGUMENT

      A.     KSR Abrogates the Mandatory Rosen-Durling Test

      KSR abrogates the rigid primary reference requirement in Rosen and Durling.

The KSR and Rosen-Durling approaches to obviousness analysis are inconsistent in

that KSR requires an expansive and flexible approach to finding a reason to modify



                                          5
           Case: 21-2348    Document: 123      Page: 15    Filed: 08/28/2023




or combine prior art references whereas Rosen-Durling strictly requires a primary

reference that looks “basically the same” as the claimed design before the

obviousness analysis may proceed. As explained below, the Rosen-Durling approach

is inconsistent with KSR, Whitman Saddle, and other case authority.

      B.     KSR Applies to Design Patents and this Court should Eliminate the
             rigid Rosen-Durling Test

      1.     Introduction

      The fundamental principle in KSR that rigid rules should not limit the

obviousness inquiry applies to design patents and therefore requires that the rigid

requirement of a primary reference be eliminated.

      KSR involved a utility patent, and the underlying statutory framework for

analyzing obviousness is the same for both design patents and utility patents. 35

U.S.C. § 171 (a) and (b) state “[w]hoever invents any new, original and ornamental

design for an article of manufacture may obtain a patent therefor, subject to the

conditions and requirements of this title” and “[t]he provisions of this title relating

to patents for inventions shall apply to patents for designs, except as otherwise

provided. One of the “conditions and requirements” that apply to design patents is

35 U.S.C. § 103, which states in relevant part “[a] patent for a claimed invention

may not be obtained … if the differences between the claimed invention and the

prior art are such that the claimed invention as a whole would have been obvious




                                          6
           Case: 21-2348     Document: 123      Page: 16     Filed: 08/28/2023




before the effective filing date of the claimed invention to a person having ordinary

skill in the art to which the claimed invention pertains.”

      For both utility patents and design patents, the obviousness inquiry requires

consideration of the four Graham factors: "(1) the scope and content of the prior art;

(2) the differences between the claims and the prior art; (3) the level of ordinary skill

in the art; and (4) objective considerations of nonobviousness." Campbell Soup Co.

v. Gamon Plus, Inc., 10 F.4th 1268, 1275 (Fed. Cir. 2021). Like utility patents, when

a patented design is a combination of selected elements in the prior art, a holding of

obviousness requires that there be some reason why it would have been obvious to

a designer of ordinary skill to make the particular selection and combination made

by the patentee. See, e.g., Sidewinder Marine, Inc. v. Starbuck Kustom Boats &

Prods., 597 F.2d 201, 209 (10th Cir. 1979) (court articulated reasons why design

patent covering the ornamental design for a boat was obvious over the prior art).

      2.     The Rosen-Durling Test Is Overly Rigid and Improper

      A continuing challenge in patent law is to properly define the appropriate

reasons why a person of ordinary skill in the art would have made a particular prior

art combination to render claimed subject matter obvious. The objective is continued

refinement of the obviousness analysis to make it more uniform and consistent. In

the utility patent context, the teaching suggestion motivation (TSM) test was

developed to advance this objective. See KSR at 407.



                                           7
           Case: 21-2348     Document: 123     Page: 17    Filed: 08/28/2023




      In KSR, the Supreme Court held that although the TSM test captured a helpful

insight, it was overly rigid and inconsistent with the expansive and flexible approach

required in a utility patent obvious analysis. See KSR at 415. Similarly, this Court

should hold that the Rosen-Durling test is an overly rigid mandatory formula and

must yield to a more flexible approach to establishing a reason why it would have

been obvious to a designer of ordinary skill to make the particular selection and

combination. To understand why this is so, it is helpful to review the historical

development of the principles underlying obviousness analysis for design patent

claims.

      3.     Historical Review of the Obviousness Test Development in Design
             Patent Cases

      Early design patent statutes included the term “invention,” which was

interpreted as requiring an inventive quality for patentability. See Cavu Clothes, Inc.

v. Squires, Inc., 184 F.2d 30, 33 (6th Cir. 1950). Courts were candid about the

difficulty of establishing a specific rule for invention but nonetheless offered helpful

general principles to consider. In In re Johnson, 175 F.2d 791 (C.C.P.A. 1949), the

court stated ‘[t]he courts seem to be of one accord in stating that the fourth element

of the formula which tests the patentability of a design, viz., the exercise of the

inventive faculty, defies definition and resides as a subjective standard in the mind

of the judge considered as an "average observer." Id. The court continued “[w]hile

patentable designs may result from regrouping familiar forms and decorations, the

                                           8
            Case: 21-2348    Document: 123      Page: 18     Filed: 08/28/2023




substitution of a slightly different form already in use in articles of the class to which

the design is applied, does not merit a monopoly [citation omitted] [and] [t]he degree

of difference required to establish novelty occurs when the average observer takes

the new design for a different, and not a modified already existing, design.” Id.

      During this time, an obviousness analysis did not require a primary reference

that was “basically the same” as the claimed design. Rather, courts found lack of

invention when there was a reason to combine prior art references based on, for

example, industry custom and practice, ideas adapted or derived by analogy from

prior usage, and what the prior art taught as well as what it showed.

      (a)     Historically, Obviousness did not Require a Primary Reference

      In Smith v. Whitman Saddle, 148 U.S. 674 (1893), a case concerning whether

an accused saddle design infringed upon a design patent for a saddle, the Supreme

Court discussed that a design would not be patentable when “[n]othing more was

done in this instance (except as hereafter noted) than to put the two halves of these

saddles together in the exercise of the ordinary skill of workmen of the trade, and in

the way and manner ordinarily done.” Id. at 681. Since two different halves were

brought together, a single primary reference that was “basically the same” as the

claimed design arguably did not exist.

      In Knapp v. Will & Baumer, 273 F. 380 (2nd Cir. 1921), a case involving a

candle design patent, the court found the design patent to be unpatentable because it



                                            9
          Case: 21-2348     Document: 123      Page: 19   Filed: 08/28/2023




was not an “inventive act” to take “an ordinary coach handle, with a bell shaped tip,”

change “the column from a round one into a square one,” and add “a self-fitting base

in accordance with the teachings of the art since 1861.” Id. at 384-385. There

arguably was no primary reference that was basically the same as the accused design.

Rather, the prior art was relied upon to show prior forms and common practices.



                                       *****




              Image from Knapp disclosing the different candle cuts




                                         10
          Case: 21-2348      Document: 123      Page: 20    Filed: 08/28/2023




      In Western Auto Supply Co. v. Am.-National Co., 114 F.2d 711 (6th Cir. 1940),

a case involving a coaster wagon design, the Sixth Circuit found the design patent

invalid due to lack of invention. The court explained “[i]f the variation sought to be

patented is of such nature that it would naturally occur to one of average skill in the

field, it is in reality in potential possession of the public, and to reward it with the

monopoly of a patent would be out of harmony with the purpose and intent of the

statute.” Id. at 712. Notably, the court explained that prior art could render the patent

invalid both “[w]hen the idea is adapted or derived by analogy from prior usage, or

when it is embodied in a design resembling the prior art in general appearance or

central theme….” Id. Lack of patentability therefore could result even when no

primary reference existed.

(b)   The Origins of the Primary Reference Requirement

      In re Jennings, 182 F.2d 207 (C.C.P.A. 1950) involved a claimed vacuum

condenser design. The patent office considered the claimed design unpatentable over

the five prior art references, and the Board of Appeals affirmed.

      In discussing the Board’s decision, the Court stated “it seems to have been

held that by selecting features taken from five different patents, that is, one feature

from one patent, another from another, etc., a device might be considered which

would so closely resemble the drawings of appellant that his design would not be

patentable over such possible construction.” Id. at 208. The Court reversed the



                                           11
            Case: 21-2348   Document: 123     Page: 21    Filed: 08/28/2023




Board’s decision and stated “[i]n considering patentability of a proposed design the

appearance of the design must be viewed as a whole, as shown by the drawing, or

drawings, and compared with something in existence - not with something that might

be brought into existence by selecting individual features from prior art and

combining them, particularly where combining them would require modification of

every individual feature, as would be required here.” Id. The court did not address

how close the “something in existence” had to be to the claimed design and did not

require it to be “basically the same” as the claimed design.

      (c)     The Importance of the “As a Whole” Principle

      Jennings also stressed the principle that the claimed design and the prior art

designs must be viewed and compared as a whole. This was an old principle of

design patent law. See Dobson v. Dornan, 118 U.S. 10, 15 (1886) (“Undoubtedly

the claim in this case covers the design as a whole, and not any part of it as a part;

and it is to be tested as a whole, as to novelty and infringement.”). The “as a whole”

principle prevented the Patent Office, the Board, and courts from selecting design

elements for combination without considering the overall visual impact of the design

the elements were extracted from.

      (d)     Passage of the 1952 Patent Act and the Graham v. John Deere Co.
              Decision

      Two years after In re Jennings was decided, the Patent Act was passed. The

1952 Patent Act set forth design patent requirements in 35 U.S.C. § 171 and codified

                                         12
             Case: 21-2348   Document: 123     Page: 22    Filed: 08/28/2023




the requirement for non-obviousness in 35 U.S.C. § 103. These statutes were not

intended to substantially change the law. See Columbus Plastic Products, Inc. v.

Rona Plastic Corp., 111 F. Supp. 623, 627 (D.N.Y. 1953) (§ 171); Graham v. John

Deere Co. of Kansas City, 383 U.S. 1, 3-4 (1966) (§ 103). In 1966, the Supreme

Court clarified that although patentability ultimately was an issue of law, the section

103 condition lends itself to the four factual inquires set forth above. See Graham,

supra, at 17. These legal frameworks did not require a primary reference that was

basically the same as the claimed design to establish obviousness.

       (e)     In re Glavas and the Rule for Combining Primary and Secondary
               References

       In 1956, In re Glavas, 230 F.2d 447 (C.C.P.A. 1956) was decided. Glavas

involved a claimed design for a swimming float. The three prior art references

considered by the examiner consisted of a life preserver comprising two float

members (Armstrong Patent), a flat rectangular pillow (Patton Patent), and a baby

supporter in the form of a wedge-shaped cushion (Knecht Patent). The Board of

Appeals affirmed the Examiner’s rejection based on obviousness and relied

primarily on Armstrong in view of Patton. The patent applicant argued that the

pillow was from a field of non-analogous art and should not be used as an auxiliary

prior art reference. The Board rejected the applicant’s argument, stating “it is well

established that all arts are analogous in considering the shape of an object.” Id. at

449.

                                          13
          Case: 21-2348     Document: 123      Page: 23    Filed: 08/28/2023




      The Court reversed the Board of Appeals and announced the rule that “[t]he

question in design cases is not whether the references sought to be combined are in

analogous arts in the mechanical sense, but whether they are so related that the

appearance of certain ornamental features in one would suggest the application of

those features to the other.” Id. at 450. The Court considered the Examiner’s position

plausible that “pillows are sometimes adapted to serve as floats,” id. at 451 (and so

were analogous in a functional or mechanical sense) but stated “we are unable to

find anything in either of the former patents which would suggest modifying the

Armstrong float in such a manner as to produce appellant's design.” Id. Specifically,

the Court stated “[t]he Patton patent shows a float pillow having opposite concavities

in its narrow edge portions or, as the examiner described it, ‘concave portions on a

knife edge margin[,]’ [but] [t]his would not suggest the broad concave upper and

lower surfaces of appellant's float, which is clearly of an entirely different over-all

appearance from Patton's pillow.” Id.

      Commentators have suggested that Glavas is confusing and does not properly

explain when and how an auxiliary or secondary reference can be combined with a

primary reference. See Sarah Burstein, Visual Invention, 16 Lewis & Clark L. Rev.

169, 206 (2012) (stating “the Federal Circuit’s current rules for modifying primary

references are, at best, unclear.”); Janice M. Mueller & Daniel Harris Brean,

Overcoming the “Impossible Issue” of Nonobviousness in Design Patents, 99 KY.



                                          14
            Case: 21-2348   Document: 123      Page: 24    Filed: 08/28/2023




L.J. 419, 545-546 (2011) (stating “the Glavas test requiring that references be “so

related” as to “suggest” the combination of design features is vague and

nonsensical.”).

      (f)     Standard for Evaluating Obviousness Changed to Designer of
              Ordinary Skill

      In 1981, the standard for evaluating obvious was clarified to be a designer of

ordinary skill rather than an "ordinary intelligent man.” See In re Nalbandian, 661

F.2d 1214, 1215 (C.C.P.A. 1981).

      (g)     In re Rosen and the Requirement that a Primary Reference be
              “Basically the Same”

      One year later, the court in In re Rosen, 673 F.2d 388 (Fed. Cir. 1982) reviewed

an obviousness holding where the claimed design was a coffee table and the primary

prior art reference was a desk. The other three prior art references considered were

a display stand and two tables.

      The Board, in affirming the obviousness rejection of the Examiner, concluded

that one of ordinary skill in the art would consider the prior art references and

combine them to achieve the claimed design. The Court reversed the Board. The

Court agreed that under the new standard of a designer of ordinary skill that the prior

art references would fall within the realm of knowledge of the ordinary designer,1


1
  The court observed that “the test for obviousness may well bring more art into
consideration since we must look to the knowledge of the ‘ordinary designer’ rather
than that of the ‘ordinary intelligent man.’” Id. at 390.

                                          15
            Case: 21-2348   Document: 123     Page: 25    Filed: 08/28/2023




but then stated, “we are left with the matter of whether the various elements selected

by the PTO from each of these references would have made the overall appearance

of the claimed design obvious.” Id. at 390.   The Court began its analysis by

quoting the Glavas test for combining references and quoting the Jennings

requirement that the claimed design must be compared against “something in

existence.” The Court then went further and stated that the “something in existence”

must have “the design characteristics of which are basically the same as the claimed

design in order to support a holding of obviousness.” Id. at 391. Although the Court

did not explain in detail what it meant by “basically the same,” the Court stated that

a qualifying reference needed to embody “similar design concepts,” and that

modifications of the prior art reference necessary to achieve the claimed design

should not “destroy fundamental characteristics” of the reference design. Id. at 391.

      (h)     In re Harvey and the Focus on Overall Visual Appearances

      In re Harvey, 12 F.3d 1061 (Fed. Cir. 1993) involved claimed designs for

vases. The Board affirmed a rejection for obviousness based on prior art vases, with

a prior Harvey vase design used as the primary reference. On appeal, the applicant

argued that the Board improperly analyzed Harvey's prior art vase as a "design

concept" rather than the disclosure of specific design characteristics. Id. at 1063.

This Court agreed, holding that the Board should have focused on actual appearances,

rather than "design concepts." Id. at 1064. This Court further found the Board erred



                                         16
           Case: 21-2348    Document: 123     Page: 26    Filed: 08/28/2023




because it “improperly compared the visual impressions of selected, separate

features of the prior art designs to the '904 and '906 designs, rather than the visual

impression of the designs as a whole.” Id. at 1065.

      In short, according to In re Harvey, when searching for a primary reference

and attempting to combine secondary references, the focus must remain on the

overall visual impression created by the designs as a whole. This rule was applied

by this Court in rejecting the putative primary reference in Durling v. Spectrum

Furniture Co., Inc., 101 F.3d 100 (Fed. Cir. 1996) (“the district court's description

merely represents the general concept of a sectional sofa with integrated end

tables …. however, the focus in a design patent obviousness inquiry should be on

visual appearances rather than design concepts.”). This Court affirmed the rule in

MRC Innovations, Inc. v. Hunter Mfg., LLP, 747 F.3d 1326, 1331 (Fed. Cir.

2014) ("The 'basically the same' test requires consideration of the 'visual impression

created by the patented design as a whole.'" (citation omitted)).

      4.     Historical Review Highlights the Error in Always Requiring a
             Primary Reference

      This historical review of how the obviousness test for design patents

developed highlights the error in requiring a rigid primary reference. In cases such

as Whitman Saddle, Knapp v. Will & Baumer, and Western Auto Supply Co. v. Am.-

National Co., supra, there did exist reasons to combine references other than through

a primary reference. Such reasons included industry customs, prior forms and

                                         17
          Case: 21-2348     Document: 123      Page: 27    Filed: 08/28/2023




common practices arising from teachings in the prior art, variations that would

naturally occur to one of average skill in the field, and ideas adapted or derived by

analogy from prior usage. Other potential reasons to combine include design trends,

market pressures, manufacturing efficiencies, and design expediencies known to

those of ordinary skill in the art.2 All these reasons can serve as reasons to combine

references even though the prior art references do not contain a primary reference as

rigidly defined in Rosen and Durling.

      In sum, the primary reference requirement must be eliminated as the exclusive

method to prove obviousness because it improperly lowers the standard for obtaining

a design patent. The accuracy of the obviousness determination at times results not

only from what a designer of ordinary skill observes in the prior art, but also what is

taught by the prior art. A designer of ordinary skill should be able to determine what

would be obvious to bring into existence (if not currently in existence) based on the

teachings of the prior art and general knowledge of an ordinary designer.

C.    The Test for Obviousness Should Apply the Graham/KSR Factors and
      Focus on Whether a Reason Exists that a Designer of Ordinary Skill
      would Combine Prior Art References to Achieve the Claimed Design


2
  Examples of well-known design expediencies that exist in design practice are
duplication or multiplication of parts, see Olsen v. Baby World Co. Inc. et al., 126 F.
Supp. 660, 104 USPQ 51 (D.C.N.Y. 1954), “the mere choice of one well known
geometric form rather than another equally well known, which does not in any way
modify the other portions of the design” see In re Hopkins, 17 C.C.P.A. 621, 621, 34
F.2d 1016 (C.C.P.A. 1929), and obvious changes in proportion, see In re Stevens, 81
U.S.P.Q 362, 173 F.2d 1015 (C.C.P.A. 1949).

                                          18
          Case: 21-2348      Document: 123     Page: 28    Filed: 08/28/2023




      The test for evaluating design patent obviousness challenges should focus on

the four Graham factors: "(1) the scope and content of the prior art; (2) the

differences between the claims and the prior art; (3) the level of ordinary skill in the

art; and (4) objective considerations of nonobviousness." Campbell Soup Co., supra.

When analyzing the differences between the claims and the prior art, there must be

some reason why a designer of ordinary skill would make the particular selection

and combination to achieve the claimed design. See Sidewinder Marine, supra, at

209. The reason to select and combine prior art references can come not only from

the appearance of prior art references, but also from reasons similar to those

expressed in KSR and listed above such as industry customs, prior forms and

common practices arising from teachings in the prior art, variations that would

naturally occur to one of average skill in the field, ideas adapted or derived by

analogy from prior usage, design trends, market pressures, manufacturing

efficiencies, and design expediencies known to those of ordinary skill in the art.

      Additionally, a reason to combine references can arise due to functional

considerations. Although a design is not patentable if its overall design is primarily

functional, or dictated by function, see Ethicon Endo-Surgery, Inc. v. Covidien, Inc.,

796 F.3d 1312, 1329 (Fed. Cir. 2015), this Court has long recognized that articles

and portions of articles to which designs are applied typically have functions. See

Avia Grp. Int'l, Inc. v. L.A. Gear Cal., Inc., 853 F.2d 1557, 1563 (Fed. Cir. 1988).



                                          19
          Case: 21-2348     Document: 123      Page: 29    Filed: 08/28/2023




Therefore, when considering the creation, modification, or adaption of a design,

functional concerns may come into play. For example, MPEP § 1504.03 II states

"[i]f the proposed combination of the references so alters the primary reference that

its broad function can no longer be carried out, the combination of the prior art would

not have been obvious to a designer of ordinary skill in the art."

      Case law supports consideration of functional concerns. In In re Garbo, 287

F.2d 192 (C.C.P.A. 1961), the claimed design was for a cinematic multiple-place

trainer for automobile drivers that had two rows of cars at different levels. The Board

considered the claimed design obvious in light of a prior art magazine photograph

that disclosed fourteen simulated car training units arranged in a fan-shaped pattern

in staggered relationship on the same level. The Board reasoned that the applicant

“merely adopted the well-known arrangement of seats in theaters and halls in

arranging the training cars.” Id. at 193. The Court affirmed, stating “if the objective

of the designer, as here, motivates him to take old seating arrangements and adapt

them to a specified area thereby bringing about an expected appearance, patentability

is not present.” Id.

      Finally, regarding the concern that elimination of the Rosen-Durling primary

reference as a mandatory threshold requirement will reduce the protections against

hindsight analysis, this is not a legitimate concern in light of principle that the

claimed design and prior art references must be considered as a whole and the



                                          20
          Case: 21-2348     Document: 123      Page: 30   Filed: 08/28/2023




principle expressed in KSR regarding the importance of identifying “a reason that

would have prompted a person of ordinary skill in the relevant field to combine the

elements in the way the claimed new invention does,” KSR, supra, at 418-19.

D.    No Precedent from this Court has Clarified the Rosen-Durling Test

      ABPA is not aware of any precedent from this Court that has clarified the

Rosen-Durling Test.

E.    Correcting and Improving Design Patent Obviousness Principles
      Results in Less Uncertainty

      Design patent law has been in a highly active period of development since this

Court’s decision in Egyptian Goddess v. Swisa, 543 F.3d 665 (Fed. Cir. 2008)

eliminated the point of novelty test in design patent infringement analysis.

Improving design patent law to make sure principles and rules are consistent with

the Constitution, underlying policies, and Supreme Court authority ultimately will

result in less uncertainty in the obviousness analysis.

F.    Differences Between Design Patents and Utility Patents Do Not Justify
      Fundamentally Different Frameworks for Determining Obviousness

      While it is true that utility patents primarily are concerned with function and

design patents primarily with appearance, there are many factors in a design patent

obviousness analysis, discussed above, that appropriately fall within the reach of

KSR. Further, the underlying statutory and Graham framework for proving

obviousness in utility patents and design patents is the same. Therefore, any



                                          21
             Case: 21-2348   Document: 123    Page: 31   Filed: 08/28/2023




differences between design patents and utility patents do not justify a fundamentally

different approach for determining obviousness.

                                  CONCLUSION

       This Court should overrule the mandatory primary reference requirement of

Rosen and Durling, vacate the decision of the PTAB, and remand with instructions

to apply a flexible test based on Graham, KSR, and evidence of not only what a

designer of ordinary skill observes in the prior art, but also what is taught by the

prior art.

Dated: August 28, 2023

                                       /s/ Robert G. Oake, Jr.
                                       Robert G. Oake, Jr.
                                       Oake Law Office, PLLC
                                       700 S. Central Expressway, Suite 400
                                       Allen, Texas 75013
                                       Telephone: 214.207.9066
                                       Facsimile: 469.519.5454
                                       rgo@oake.com

                                       Attorney for Amicus Curiae
                                       Automotive Body Parts Association




                                         22
             Case: 21-2348         Document: 123         Page: 32        Filed: 08/28/2023



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                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

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  Short Case Caption: LKQ Corporation, et al v. GM Global Technology Operations LLC

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